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UNITED sTATEs DISTRICT CoURT F'LE'?‘ 3`»’ Am" D-C-
wEsTERN DISTRICT oF TENNESSEE
Western Division 05 JUL l l PH 3' 59

UNITED STATES OF AMERICA

 

_v S-

CECELIA HARRIS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):
APPOINTMENT OF COUNSEL
' The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
- All purposes including trial and appeal

pvfa
DONE and ORDERED in 167 North Main, Mernphis, this // day ofJuly, 2005.

deem [. 740/agr

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
lntake

CECELIA HARRIS

  

Thls document entered on the docket sh t l

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UNITED s`AsTE DCISTRI COURT - WERSTE DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20252 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

